                Case 22-11068-JTD                     Doc 19055             Filed 06/26/24              Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                       )
  In re:                                                               )     Chapter 11
                                                                       )
           West Realm Shires Services Inc.                             )     Case No. 22-11071
                                                                       )
                                                                       )
           Debtor.



                  TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

Hain Capital Investors Master Fund, LTD                                    Holland & Knight LLP
Name of Transferee                                                         Name of Transferor

Name and Address where notices to transferee                               Last known address:
should be sent:

Hain Capital Investors Master Fund, LTD                                    Holland & Knight LLP
301 Route 17 North, Suite 816A                                             524 Grand Regency Blvd
Rutherford, NJ 07070                                                       Brandon, FL 33510

                                                                           Schedule #: 8617632
                                                                           Proof of Claim #: 72764
                                                                           Proof of Claim Amount: $151,744.76
                                                                           Confirmation ID: 3265-69-LZSSI-387558146

Phone: (201) 896 - 6100                                                    Phone: (312) 578-6584____
Last Four Digits of Acct #:                                                Last Four Digits of Acct #:

Name and Address where transferee payments
should be sent (if different from above):


I declare under penalty of perjury that the information provided in this notice is true and correct to the best
of my knowledge and belief.

By:___Keenan Austin_______________                                         Date:______6/26/24______________
        Transferee/Transferee’s Agent
        Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571




                                                                                                                      Local Form 138
Case 22-11068-JTD   Doc 19055   Filed 06/26/24   Page 2 of 2
